              Case 20-10343-LSS              Doc 11612       Filed 11/14/23       Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE




In re:                                                               Chapter 11

BOY SCOUTS OF AMERICA AND                                            Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                                     (Jointly Administered)
                                         1
                                Debtors.



RESPONSE OF THE HONORABLE BARBARA J. HOUSER (RET.), IN HER CAPACITY
 AS TRUSTEE OF THE BSA SETTLEMENT TRUST, IN OPPOSITION TO MOTIONS
 TO AUTHORIZE REVOCATION OF EXPEDITED DISTRIBUTION ELECTIONS ON
   THE GROUNDS OF MISTAKE, INADVERTENCE AND INJUSTICE [D.I. 11599]

         The Honorable Barbara J. Houser (Ret.) (the “Trustee”), in her capacity as trustee of the

BSA Settlement Trust (the “Settlement Trust”), hereby submits this consolidated opposition (the

“Opposition”) to the Motion to Authorize Revocation of Expedited Distribution Elections on the

Grounds of Mistake, Inadvertence and Injustice [D.I. 11599] (the “Motion”).

         The Trustee incorporates her Consolidated Response in Opposition to (1) Survivor

Claimant D.S.’s Motion to Change Election to Opt into Expedited Payment/Convenience Class,

D.I. 11532, and (2) Motion to Change Election to Opt into Expedited Payment/Convenience Class,

D.I. 1522 [D.I. 11565] (the “First Consolidated Opposition”) as if set forth fully herein.2 In further

support of her Opposition, the Trustee respectfully states and alleges as follows:

                                      FACTUAL BACKGROUND

         Mary Alexander & Associates, P.C. (“MAA”) alleges that its fourteen clients each filed



1
  The Reorganized Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Reorganized Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Capitalized, undefined terms set forth herein have the meaning set forth in the First Consolidated Opposition.

                                                       1
              Case 20-10343-LSS         Doc 11612       Filed 11/14/23     Page 2 of 4




Class 8 ballots where they mistakenly elected to receive Expedited Distribution. Mot. at 1–2.

MAA asserts that these clients mistakenly believed that the $3,500.00 payment was an “advance,”

and did not realize until recently that this would be the entire payment received as compensation

for their claims. Id. at 2.

                                      RELIEF REQUESTED

        The Trustee seeks an order from this Court denying the Motion.

                                       BASIS FOR RELIEF

        The basis for the Trustee’s relief is set forth in the First Consolidated Opposition. In short,

while the Trustee is sympathetic to these claimants’ predicaments, the Plan language, along with

the language set forth in the TDP and Solicitation Procedures, does not permit claimants to change

their elections of Expedited Distribution. Further, the Trust would face significant difficulty in

changing (at a minimum) hundreds of claims from Expedited Distribution to the Matrix or

Independent Review options. Contrary to the assertion made by MAA, Mot. ¶ 17, this burden

would not be alleviated by allowing claimants who did not elect Expedited Distribution to now

choose that payment. The expense, confusion, and procedural difficulties in allowing all claimants

to change their elections now, nearly two years after they originally made these decisions, would

be immense and would only serve to delay compensation to the tens of thousands of claimants

who have not expressed a desire to change their elections. See generally Prior Consolidated

Opposition. It is these survivors—not merely the Trust itself—that would be harmed if the Trust

were required now to spend months, at the very least, re-processing claims and putting off the day

that these survivors will finally be compensated for their harms.

        MAA argues that Federal Rule of Bankruptcy Procedure 9024, which incorporates Federal

Rule of Civil Procedure 60, allows this Court to correct an error or mistake, and argues that the

Court should do so here to allow these claimants to correct their elections of Expedited

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                Case 20-10343-LSS               Doc 11612          Filed 11/14/23         Page 3 of 4




Distribution. Mot. ¶¶ 12–14. But this Rule allows the Court to correct “a judgment, order, or other

part of the record,” Fed. R. Civ. P. 60(a), and MAA cites no authority stating that a vote on a plan

of reorganization is “part of the record” contemplated by this Rule.3 Even if this were an

appropriate mechanism for relief, the request should be denied for the reasons set forth herein.

         Ultimately, this Court approved the Solicitation Procedures and the Class 8 Ballots. See

Order (I) Approving the Disclosure Statement and the Form and Manner of Notice, (II) Approving

Plan Solicitation and Voting Procedures, (III) Approving Form of Ballots, (IV) Approving Form,

Manner, and Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection

with Approval of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting

Related Relief, D.I. 6438 (Sept. 30, 2021). While the Trustee is sympathetic to individuals that

may have mistakenly elected an Expedited Distribution, the Trustee has been working diligently

for the benefit of all survivors to ensure that their claims are timely processed and compensated in

accordance with the Plan, TDP, and other supporting documents. Upending this process now,

based on the form of ballots approved by this Court more than two years ago, would cause more

harm than benefit to the survivor group as a whole, of which the Trustee is a fiduciary.

                                                  CONCLUSION

         For the reasons set forth above, the Trustee respectfully requests that this Court deny the

Motions.




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  MAA acknowledges that “there is virtually no caselaw precedent” for the relief it seeks. Mot. ¶ 12. The sole case
cited by MAA regarding confusion in the voting process, In re Southland Corporation, bears almost no factual
similarity to this case; there, the voting process was criticized for, among other reasons, not counting certain votes,
not properly accounting for votes cast by those voting in a representative capacity, and only allowing eight business
days for voting. 124 B.R. 211, 222–223, 227 (Bankr. N.D. Tex. 1991). At any rate, in Southland, the court invalidated
all votes and required all creditors to vote again; it did not allow certain creditors to change elections on their ballots
that were made two years prior, and it did not invoke Rule 9024. Id. at 227.

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           Case 20-10343-LSS   Doc 11612   Filed 11/14/23   Page 4 of 4




Dated: November 14, 2023
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